Case 2:16-cr-20732-RHC-RSW ECF No. 197 filed 05/25/18             PageID.1992      Page 1 of 5



                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                                              Case No. 16-20732-1

 DEAN REYNOLDS,

        Defendant.
                                                /

        ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS FRUITS OF
                       ELECTRONIC SURVEILLANCE

        Defendant Dean Reynolds is charged with ten counts of bribery concerning

 programs receiving federal funds, see 18 U.S.C. § 666(a), and four counts of conspiracy

 to commit the same, see 18 U.S.C. § 371. (See Dkt. #158.) Before the court is

 Defendant’s motion to suppress the fruits of electronic surveillance, which challenges

 the bases for three 30-day wiretap orders issued by now-retired United States District

 Judge Gerald Rosen. (Dkt. #176.) The government has filed a response. (Dkt. #188.)

 For the following reasons, the court will deny the motion.

        Federal law enforcement officials may conduct electronic surveillance using a

 wiretap if they secure authorization as mandated by statute. See 18 U.S.C. §§ 2516,

 2518. Relevant here, an application for authorization must contain “a full and complete

 statement as to whether or not other investigative procedures have been tried and failed

 or why they reasonably appear to be unlikely to succeed if tried or to be too dangerous.”

 § 2518(1)(c). Known as the “necessity requirement,” this condition was meant to

 prevent the use of wiretaps where traditional investigative techniques will sufficiently
Case 2:16-cr-20732-RHC-RSW ECF No. 197 filed 05/25/18             PageID.1993     Page 2 of 5



 expose the suspected crime. See United States v. Young, 847 F.3d 328, 343 (6th Cir.

 2017); United States v. Stewart, 306 F.3d 295, 304 (6th Cir. 2002). It requires, in other

 words, that those seeking a wiretap show that the wiretap is not being “routinely

 employed as the initial step in criminal investigation.” United States v. Landmesser, 553

 F.2d 17, 20 (6th Cir. 1977) (quoting United States v. Giordano, 416 U.S. 505, 515

 (1974)).

        But it does not require that the government “prove that every other conceivable

 method has been tried and failed or that all avenues of investigation have been

 exhausted.” United States v. Alfano, 838 F.2d 158, 163 (6th Cir. 1988) (citation omitted).

 The Sixth Circuit has set forth the following summary of the necessity requirement:

        All that is required is that the investigators give serious consideration to
        the non-wiretap techniques prior to applying for wiretap authority and that
        the court be informed of the reasons for the investigators’ belief that such
        non-wiretap techniques have been or will likely be inadequate.

 Young, 847 F.3d at 344 (quoting Alfano, 838 F.2d at 163–64). “A district court has

 ‘considerable discretion’ in determining whether the requirements of § 2518(1)(c) have

 been satisfied.” Young, 847 F.3d at 343 (quoting Stewart, 306 F.3d at 304).

        Defendant argues that the application to authorize wiretaps in this case failed to

 meet this necessity requirement. As part of each application, the government submitted

 an affidavit from FBI Special Agent (“SA”) Joseph Jensen; according to Defendant, the

 affidavits dismissed traditional investigatory techniques in conclusory or categorical

 fashion, and they did nothing to distinguish this case from other public corruption cases

 such that a wiretap order should have issued.

        The court disagrees. Having reviewed the affidavits submitted to Judge Rosen

 (Dkt. ##189-1, -2, -3), the court has determined that Judge Rosen did not abuse his



                                              2
Case 2:16-cr-20732-RHC-RSW ECF No. 197 filed 05/25/18             PageID.1994     Page 3 of 5



 discretion in finding that the necessity requirement had been satisfied. Contrary to

 Defendant’s position, the submitted affidavits are not “conclusory” or “categorical”; they

 detailed several traditional investigative techniques—including confidential sources,

 physical surveillance, undercover agents, search warrants, grand jury subpoenas,

 witness interviews, trash searches, pen registers and related tools, mail cover requests,

 and financial investigations—and explained how each technique was falling short or

 would be unlikely to succeed. While each technique was accompanied by an

 explanation of its insufficiency, a common theme pervaded: the secretive nature of the

 bribery scheme, the inability of witnesses outside the scheme to divulge its details, and

 the real potential that more traditional investigative techniques would expose the

 pending criminal investigation and undermine the ability to conduct any further work.

        The affidavits, for example, described the limited usefulness of confidential

 informants. They detailed how one target of the investigation refused to meet with a

 confidential informant for six to eight months because the target believed a federal

 investigation was ongoing. They further noted that approaching one witness resulted in

 a leak of the investigation. The affidavits also described the inadequacy of a search

 warrant; because there is very seldom a written record of bribes, according to

 investigators, execution of a search warrant was unlikely to reveal evidence of any real

 substance. And execution of a search warrant would similarly alert target subjects that

 an investigation was ongoing. The investigators concluded that “[a]t best [a search

 warrant] would result in the seizure of documents and money from one target.” These

 statements are neither categorical nor conclusory. They are detailed explanations of the

 inadequacy of traditional investigative techniques in this case. As evidenced by SA




                                              3
Case 2:16-cr-20732-RHC-RSW ECF No. 197 filed 05/25/18              PageID.1995     Page 4 of 5



 Jensen’s affidavits, the court is confident that the investigators in this case gave

 “serious consideration” to non-wiretap investigatory methods. The court is further

 convinced that Judge Rosen had adequate information on which to assess the

 sufficiency of non-wiretap techniques.

        The court is similarly unpersuaded by Defendant’s argument that the second and

 third affidavits failed to show that further wiretapping was necessary. Defendant argues

 that SA Jensen’s second and third affidavits are nearly identical to the first in how they

 describe the inadequacy of other techniques, and thus could not have explained why

 continued use of a wiretap was necessary. But the affidavits did explain why traditional

 investigatory techniques continued to be inadequate: they once more described the

 tools in use and their inability to gather the information needed to expose the suspected

 crime. And Defendant also acknowledges that, as required by 18 U.S.C. § 2518(1)(f),

 the second and third affidavits describe the information investigators obtained during the

 earlier wiretaps—information that investigators and the government used to explore

 further target subjects and proposed to use as evidence in any eventual criminal

 prosecution. Each earlier wiretap, that is, revealed precisely the kind of evidence the

 government contended was unavailable through other techniques: the content of

 conversations between members of the alleged conspiracy outlining their various deals.

 That more traditional investigative techniques continued to be insufficient to get this

 evidence was at least foreseeable—and their continued insufficiency was enough to

 justify the subsequent orders.

        Investigators gave serious consideration to traditional investigatory techniques,

 and Judge Rosen did not abuse his discretion in finding that those techniques were




                                              4
Case 2:16-cr-20732-RHC-RSW ECF No. 197 filed 05/25/18                                                     PageID.1996   Page 5 of 5



 sufficiently inadequate to justify the wiretap orders. Suppression is not warranted.

 Accordingly,

             IT IS ORDERED that Defendant’s Motion to Suppress Fruits of Electronic

 Surveillance (Dkt. #176) is DENIED.



                                                                                        s/Robert H. Cleland                     /
                                                                                        ROBERT H. CLELAND
                                                                                        UNITED STATES DISTRICT JUDGE
 Dated: May 25, 2018

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, May 25, 2018, by electronic and/or ordinary mail.

                                                                                          s/Lisa Wagner                         /
                                                                                          Case Manager and Deputy Clerk
                                                                                          (810) 292-6522



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